              Case 2:11-mj-00147-EFB Document 8 Filed 06/15/11 Page 1 of 1


1
2
                              IN THE UNITED STATES DISTRICT COURT
3
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
4
5
6
     UNITED STATES OF AMERICA,       ) No. Cr. S 11-147 EFB
7                                    )
                    Plaintiff,       )
8                                    ) ORDER
          v.                         )
9                                    )
     JOHN SIBERT                     )
10                                   ) Judge: Hon. Kendall J. Newman
                    Defendant.       )
11                                   )
     _______________________________ )
12
                                               ORDER
13
           The defendant, John Sibert, requests an order appointing counsel to represent him
14
     pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A, which provides for such an order
15
     when the applicant is “financially unable to obtain adequate representation”. The financial
16
     information submitted to the Office of the Federal Defender in support of Mr. Sibert’s request
17
     reveals that he does not have the ability to retain counsel. Mr. Sibert is currently employed
18
     in a remote area of Alaska. As a result, he is not able to attend his arraignment date before
19
     Judge Brennan on June 21, 2011 at 2:00 p.m. Mr. Sibert will not be able to leave Alaska until
20
     September 2011. Accordingly, in the interests of immediately providing counsel as requested
21
     for a defendant who is not able to secure private counsel and whose unique circumstances
22
     render it necessary, The Office of the Federal Defender is hereby appointed to represent John
23
     Sibert in this matter.
24
25
     Dated: June 14, 2011
26
27                                          _____________________________________
                                            KENDALL J. NEWMAN
28                                          UNITED STATES MAGISTRATE JUDGE
